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We, members of the jmy, find Defendant Michael Taha:


                             of the offense charged in Count One (Conspiracy to Commit Health
"Guilti' or "Not Guilty"     Care Fraud) of the Indictment;

   bu 1LU
"Guilty" or "Not Guilty"
                             of the offense charged in Count Seven (Health Care Fraud and
                             Aiding and Abetting) of the Indictment;

                             of the offense charged in Count Eight (Health Care Fraud and
"Guilty" or "Not Guilty"     Aiding and Abetting) of the Indictment; and

                             of the offense charged in Count Nine (Health Care Fraud and
"Guilty" or "Not Guilty"     Aiding and Abetting) of the Indictment.


       Signed this \   Le.\�ay ofNovember, 2023.



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